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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA F i E. Ee D
BILLINGS DIVISION
OCT 2 1 2020
UNITED STATES OF AMERICA, "Bisinet OF Montana
CR 19-48-BLG-SPW-2 ngs

Plaintiff,
vs. ORDER
HERMAN ELISIO MENENDEZ,

Defendant.

 

 

Upon the Court’s Own Motion,

IT IS HEREBY ORDERED that the change of plea hearing is set VIA
VIDEO from Crossroads Correctional Facility (Shelby, MT) on Monday,
November 2, 2020 at 9:30 a.m. is VACATED and RESET for 1:00 p.m.,
changing the time of the hearing only. Counsel may appear in the Snowy
Mountains Courtroom thirty (30) minutes prior the hearing to video conference
with Defendant. Ifthe defendant objects to this hearing being held via video, he
must file a motion to continue the hearing to allow time for the defendant to be

transported.

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DATED this_-2/*day of October, 2020.

SUSAN P. WATTERS
United States District Judge

 
